
Mr. Chief-Justice Waite
delivered the opinion of the court:
In this case the Court. of Claims has certified here, in answer to inquiries from us, 1, that the cotton in question did not come into the hands of any agent of the United States as abandoned or captured property, and was not sold as such; and 2, that the proceeds of the sale were not paid into the Treasury of the United States.
Upon this state of facts the judgment of the court below was clearly right. It is certain that no suit can be maintained against the United States under the Abandoned and Gaptured ■property Aot, if the property has neither been captured, seized, nor sold pursuant to its provisions, and the proceeds are not in the Treasury.
The judgment of the Court of Claims is affirmed.
